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8                         UNITED STATES DISTRICT COURT
9                        EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,
12                                           CASE NO. CR. 96-350 WBS
               Plaintiff,
13
          v.                                 ORDER RE: DEFENDANT’S
14                                           MOTION TO DISMISS COUNTS AS
                                             MULTIPLICITOUS
15
     HUY CHI LUONG, et al.,
16
               Defendants.
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19             Defendant Huy Chi Luong has been charged with nineteen
20   counts of money laundering and one count of conspiracy to commit
21   money laundering.    In the instant motion, defendant argues that
22   counts 64-66, 66-69, and 71-82 are multiplicitous and that
23   certain of these counts should therefore be dismissed.
24             On July 16, 1998, a Superseding Indictment was returned
25   charging defendant and multiple co-defendants with approximately
26   130 counts of money laundering and other offenses.         The counts
27   against defendant are based on transfers of money from one
28   account to another to facilitate the purchase of a residence at

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1    7825 Skander Way in Sacramento, multiple purchases of vehicles
2    from Gary Kwong, and a payment of $5,000 towards defendant’s
3    parents’ home at 8853 Dorington Court in Elk Grove.
4              Defendant first contends that Counts 64-66 of the
5    Indictment improperly divide a single offense of money laundering
6    into three violations of 18 U.S.C. § 1956(a)(1)(B), or, in other
7    words, that these counts are multiplicitous.        (Def.’s Mot. to
8    Dismiss Counts as Multiplicitous 4.)      “The test for multiplicity-
9    -charging a single offense in more than one count--is whether
10   each separately violated statutory provision ‘requires proof of
11   an additional fact which the other does not.’”        United States v.
12   McKittrick, 142 F.3d 1170, 1176 (9th Cir. 1998) (quoting
13   Blockburger v. United States, 284 U.S. 299, 304 (1932); see also
14   United States v. Vargas-Castillo, 329 F.3d 715, 719 (9th Cir.
15   2003).
16             Counts 64, 65, and 66 involve separate and distinct
17   financial transactions that defendant performed on July 10, 1995.
18   Count 64 charges defendant with purchasing one teller’s check at
19   First Public Savings Bank in the amount of $9,000; count 65
20   charges defendant with purchasing another teller’s check at the
21   same bank in the amount of $6,000, and count 66 charges defendant
22   with depositing these two teller’s checks into his personal
23   checking account at First Interstate Bank.       (July 16, 1998
24   Superseding Indictment.)    These are separate transactions, each
25   requiring proof of at least one fact which the others do not. See
26   United States v. Marshall, 248 F.3d 525, 540 (6th Cir. 2001)
27   (noting that violations of § 1956 are not continuing violations,
28   but must be analyzed individually); United States v. Kramer, 73

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1    F.3d 1067, 1072-73 (11th Cir. 1996) (analyzing multiple money
2    transfers as separate violations of § 1956(a)(2)); United States
3    v. Prince, 214 F.3d 740, 750-54 (6th Cir. 2000) (conducting a
4    similar analysis under § 1956(a)(1)(B)(I)).1       Therefore, counts
5    64-66 properly charge defendant with three separate offenses for
6    three separate money laundering violations.
7              Defendant similarly argues that the same acts charged
8    in counts 66-67 and 71-76 as violations of 18 U.S.C. § 1956 are
9    improperly charged again in counts 68-69 and 78-82 as violations
10   of 18 U.S.C. § 1957.    (Def.’s Mot. to Dismiss Counts as
11   Multiplicitous 7.)     However, “[a] single act may be an offense
12   against two statutes; and if each statute requires proof of an
13   additional fact which the other does not, an acquittal or
14   conviction under either statute does not exempt the defendant
15   from prosecution and punishment under the other.”        Blockburger,
16   284 U.S. at 304.
17             Section 1956(a) is a money laundering statute that
18   contains a scienter requirement.        United States v. Marbella, 73
19   F.3d 1508, 1514 (9th Cir. 1996) (noting that one element of §
20   1956(a)(1) is that a defendant must have “intended the
21   transaction either to promote the illegal activity or to conceal
22   the nature, source, or ownership of the illegal proceeds”)
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               Defendant cites United States v. Moloney, 287 F.3d 236,
24   240 (2d Cir. 2002) as further support for his argument. In
     Moloney, the court noted that although the legislative history of
25   § 1956 clearly establishes that each “financial transaction”
     refers to “each individual use of ‘dirty money,’ not to the
26   overall scheme,” charging a defendant for a scheme of
     transactions in one count did not raise concerns of duplicity in
27   that circuit. Thus, Moloney did not contemplate the situation of
     multiplicity, and the court is unpersuaded that the reasoning
28   therein logically extends to the situation at hand.

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1    (emphasis added).     Section 1957 is also a money laundering
2    statute, but without the scienter requirement in § 1956(a) and
3    with a threshold requirement that a transaction falling under the
4    statute involve more than $10,000.         United States v. Rutgard, 116
5    F.3d 1270, 1291 (9th Cir. 1997) (noting that the following five
6    elements of § 1956 are distinct from the requirements of § 1957:
7    “its title, its requirement of intent, its broad reference to
8    ‘the property involved,’ its satisfaction by a transaction that
9    ‘in part’ accomplishes the design, and its requirement that the
10   intent be to commit another crime or to hide the fruits of a
11   crime already committed”) (emphasis added).          Therefore, a
12   violation of either section requires proof of at least one
13   element that the other does not, and under Blockburger, a
14   defendant may be charged or convicted under both statues without
15   raising concerns of multiplicity.         284 U.S. at 304.2
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               Defendant correctly notes that § 1956 and § 1957 were
     enacted as part of the same law against money laundering in 1986.
21   However, defendant cites authority or legislative history to
     bolster his argument that Congress did not intend to permit
22   multiple prosecutions under both sections for the same conduct.
     In United States v. Nakashian, 820 F.2d 549, 551 (2d Cir. 1987),
23   the court noted that when determining whether multiple
     punishments are authorized under different statutes,
24   congressional silence should be interpreted to authorize multiple
     punishments. Moreover, in legislative history, Congress referred
25   to violations of § 1956 and § 1957 repeatedly as money laundering
     statutes, but used the disjunctive in referring to them. See
26   H.R. Rep. 102-28(I), at 3, 5, 6 (1991), available at 1991 WL
     42201. Therefore, congressional intent demonstrates, at the very
27   least, an understanding that violations of § 1956 and § 1957 are
     separate and distinct.
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1                IT IS THEREFORE ORDERED that defendant’s motion to
2    dismiss counts 64-66 and either counts 66-67 and 71-76 or counts
3    68-69 and 77-82 for multiplicity be, and the same hereby is,
4    DENIED.
5    DATED:    January 31, 2006
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